                            EXHIBIT E




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EXHIBIT E
SUMMARY OF ALL TRANSFERS*
Transfers              Value                       To                           For the Benefit Of


Redemption Transfers
$14 Million Transfer                 $7,000,000 Tierney/Tierney Trust   Tierney/Tierney Trust
                                     $7,000,000 Kiminaia/Kiminaia Trust Kiminaia/Kiminaia Trust

$700,000 Transfer                      $700,000 Sattar                          Grossi/2210/305
                                                                                Tierney/Tierney Trust
                                                                                Kiminaia/Kiminaia Trust

Loan Forgiveness                       $355,000 Tierney/Tierney Trust   Tierney/Tierney Trust
                                       $355,000 Kiminaia/Kiminaia Trust Kiminaia/Kiminaia Trust

Note Obligations                     $1,240,000 Tierney/Tierney Trust   Tierney/Tierney Trust
                                     $1,240,000 Kiminaia/Kiminaia Trust Kiminaia/Kiminaia Trust

Note Obligation Transfers              $114,009 Tierney/Tierney Trust   Tierney/Tierney Trust
                                       $114,009 Kiminaia/Kiminaia Trust Kiminaia/Kiminaia Trust

Tierney Two-Year Transfers              $86,666 Tierney/Tierney Trust           Tierney/Tierney Trust

Kiminaia Two-Year Transfers             $86,666 Kiminaia/Kiminaia Trust Kiminaia/Kiminaia Trust



Bill of Sale                           $390,000 ID and IM                       ID and IM

$1 Million Transfers                 $1,000,000 Tierney/Tierney Trust   Tierney/Tierney Trust
                                     $1,000,000 Kiminaia/Kiminaia Trust Kiminaia/Kiminaia Trust

$225,000 Transfers                     $225,000 Tierney/Tierney Trust   Tierney/Tierney Trust
                                       $225,000 Kiminaia/Kiminaia Trust Kiminaia/Kiminaia Trust

Grossi Transfers
Six-Year Trasnsfers                  $1,192,000 Grossi/2210/305                 Grossi/2210/305
Two-Year Transfers               $ 2,165,003.95 Grossi/2210/305                 Grossi/2210/305
One-Year Transfers                 $603,282.16 Grossi/2210/305                  Grossi/2210/305

Post-Petition Transfers                 $38,131 Grossi/2210/305                 Grossi/2210/305

*This chart is a summary of transfers set forth in the Complaint and is subject to revision upon discovery.



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TOTAL TO TIERNEY/TIERNEY TRUST                                  $10,634,009

TOTAL TO KIMINAIA/KIMINAIA TRUST                                $10,634,009

TOTAL TO GROSSI/2210/305                                          $4,095,135

TOTAL TO SATTAR                                                     $700,000

TOTAL TO ID AND IM                                                  $390,000

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